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IN THE UNITED STATES DISTRICT COUM§
FOR THE WESTERN DISTRICT OF TENNESSE`]§M
EASTERN DIVISION

ADVANCED RADIOLOGY, INC.,

 

Plaintiff,
VS. No. 03-1059-T-An

TROY CAVE and HPS, lNC.,

Defendants.

 

ORDER OF CONTINUANCE
AND ORDER REQUIRING STATUS REPORT

 

On November 15, 2004, the court was notified that Defendant HPS, Inc., has filed
a Chapter 7 bankruptcy petition Consequently, this matter has been stayed., pending the
resolution of Defendant’ s bankruptcy petition. On June 8, 2005, a consent order was entered
allowing counsel for Defendant HPS, lnc., to withdraw on the ground that the U.S. Trustee
had not retained defense counsel to continue representing Defendant in this matter. Trial
is set for August 24, 2005. Because the matter is currently stayed, the trial will be removed
from the court’s calendar until further notice.

Plaintiff is hereby ORDERED to provide to the court within fifteen (15) days a status
report as to whether it wants to dismiss HPS, lnc., as a defendant and proceed against the

remaining defendant or whether it wants to wait until the bankruptcy is concluded and

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proceed against both defendants.'

IT IS SO ORDERED.

GQ;WO-M

JAM S D. TODD
UN ED STATES DISTRICT JUDGE

a%wr

DATE ”

 

l lfPlaintif`f decides to dismiss HPS, lnc., either a motion to dismiss should be filed, pursuant to Fed. R.
Civ. P. 41, or a consent order of dismissal should be filed, in addition to the status report

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:03-CV-01059 was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

